Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 1 of 28 Page ID #:172



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     9
   10                           UNITED STATES DISTRICT COURT
   11                         CENTRAL DISTRICT OF CALIFORNIA
   12
   13 JOSE VALENZUELA, individually and                 Case No.: 2:24-cv-00257-PA-JPR
      on behalf of all others similarly situated,
   14                                                   Assigned to Hon. Percy Anderson
                                 Plaintiffs,
   15                                                   MEMORANDUM OF POINTS AND
      v.                                                AUTHORITIES IN SUPPORT OF
   16                                                   DEFENDANT EVERI GAMES INC.’S
      EVERI GAMES INC., and DOES 1                      MOTION TO DISMISS AND/OR
   17 through 10, inclusive,                            STRIKE PLAINTIFF’S FIRST
                                                        AMENDED COMPLAINT
   18                               Defendants.         PURSUANT TO FED. R. CIV. P.
                                                        12(b)(6) AND 12(f)
   19
                                                        Hearing Date: February 26, 2024
   20                                                   Hearing time: 1:30 p.m.
                                                        Courtroom: 9A
   21
   22                                                   Date filed: November 17, 2023
                                                        Removal Date: January 10, 2024
   23
   24
   25
   26
   27
   28
                                                   i
            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 2 of 28 Page ID #:173



     1                                             TABLE OF CONTENTS
     2                                                                                                                     Page
     3 I.        INTRODUCTION ........................................................................................... 1
     4 II.       BACKGROUND ............................................................................................. 2
     5 III.      LEGAL STANDARD ..................................................................................... 5
                 A.  Rule 12(b)(6) Motion To Dismiss A Wage And Hour Claim .............. 5
     6
                 B.  Rule 12(f) Motion To Strike ................................................................. 6
     7
           IV.   LEGAL ARGUMENT .................................................................................... 8
     8
                 A.  All Of Plaintiff’s Claims Fail ................................................................ 8
     9               1.     Plaintiff Fails To Allege Sufficient Facts To Support His
                            Unpaid Overtime And Minimum Wage Claims (Claims 1,
   10                       4) ................................................................................................. 8
   11                2.     Plaintiff Fails To Allege Sufficient Facts To Support His
                            Meal And Rest Break Violation Claims (Claims 2, 3) ............... 9
   12
                     3.     Plaintiff Fails To Allege Sufficient Facts To Support His
   13                       Wage Statement Violation Claim (Claim 5) ............................ 10
   14                4.     Plaintiff Fails To Plausibly Allege Sufficient Facts
                            Supporting His Claim For Waiting Time Penalties (Claim 6) . 11
   15                5.     Plaintiff’s UCL Claim Fails Because He Cannot Plead An
                            Inadequate Remedy At Law (Claim 7) ..................................... 12
   16
                     6.     Plaintiff’s PAGA Claim (Claim 8) Should Be Dismissed ....... 14
   17
                            a.       Plaintiff Fails To Show Administrative Exhaustion ...... 14
   18                       b.       The PAGA Claim Is Derivative Of The Other Claims .. 15
   19                7.     The FLSA Claim Is Defectively Pled (Claim 9) ...................... 15
   20            B.  The Court Should Dismiss And/Or Strike All Of The Class Action
                     Allegations And Claims ...................................................................... 16
   21                1.     The Class Allegations Do Not Meet Minimum Pleading
                            Requirements ............................................................................ 16
   22
                     2.     Early Dismissal Of The Putative Class Claims Is Necessary
   23                       To Avoid Discovery Abuse ...................................................... 17
   24                3.     The Court Should Strike Plaintiff’s Class Action
                            Allegations For Failure To Satisfy Rule 23 .............................. 17
   25
                 C.  Plaintiff’s Requests For Injunctive Relief Must Be Stricken ............. 19
   26 V.         CONCLUSION ............................................................................................. 20
   27
   28
                                                    ii
             MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
            STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 3 of 28 Page ID #:174



     1                                            TABLE OF AUTHORITIES
     2                                                                                                                     Page
     3
                                                         FEDERAL CASES
     4
       Alvarado v. Wal-Mart Assocs., Inc.,
     5       No. CV 20-01926-AB (KKX), 2020 WL 6532868, at *3 (C.D. Cal. Oct.
             22, 2020) .................................................................................................. 13, 17
     6
       Apodaca v. Costco Wholesale Corp.,
     7       675 F. App’x 663 (9th Cir. 2017).................................................................. 10
    8 Ashcroft v. Iqbal,
            556 U.S. 662 (2009) .............................................................................. 1, 5, 16
    9
      Avina v. Marriott Vacations Worldwide Corp.,
   10       No. SACV1800685JVSJPRX, 2018 WL 6844713 (C.D. Cal. Oct. 15,
            2018) .............................................................................................................. 11
   11
      Barranco v. 3D Sys. Corp.,
   12       952 F.3d 1122 (9th Cir. 2020) ....................................................................... 12
   13 Bell Atlantic Corp. v. Twombly,
            550 U.S. 544 (2007) ........................................................................ 1, 5, 10, 16
   14
      Boian v. Schneider Logistics Transloading and Distrib., Inc.,
   15       2020 WL 5356707 (C.D. Cal. May 28, 2020) ................................................ 8
   16 Boyack v. Regis Corp.,
            812 F. App’x 428 (9th Cir. 2020)................................................ 6, 8, 9, 10, 11
   17
      Byrd v. Masonite Corp.,
   18       2016 WL 756523 (C.D. Cal. Feb. 25, 2016) ............................................. 7, 17
   19 Carlos v. Wal-Mart Assocs., Inc.,
            No. EDCV2100294ABKKX, 2021 WL 4924774 (C.D. Cal. Aug. 13,
   20       2021) .............................................................................................................. 15
   21 Cortez v. United Nat. Foods, Inc.,
            2019 WL 955001 (N.D. Cal. Feb. 27, 2019)................................................... 9
   22
      Dairy Queen, Inc. v. Wood,
   23       369 U.S. 469 (1962) ...................................................................................... 12
   24 Derik Duley v. Centerra Grp., LLC,
            No. 219CV08754ABJCX, 2020 WL 6526369 (C.D. Cal. Mar. 18, 2020) ... 15
   25
      Dukes v. Wal-Mart Stores, Inc.,
   26       603 F.3d 571 (9th Cir. 2010),
            rev’d on other grounds, 564 U.S. 338 (2011) ............................................... 19
   27
      Duran v. Maxim Healthcare Servs. Inc.,
   28       No. CV 17-01072-AB (EX), 2018 WL 5915644 (C.D. Cal. Mar. 9, 2018) . 17
                                                    iii
             MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
            STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 4 of 28 Page ID #:175



     1 Durham v. Autism Spectrum Therapies, LLC,
            2019 WL 10097456 (C.D. Cal. Oct. 31, 2019) ....................................... 10, 11
     2
       Ecological Rts. Found. v. Pac. Gas & Elec. Co.,
     3      713 F.3d 502 (9th Cir. 2013) ......................................................................... 20
     4 Edwards v. Oportun, Inc.,
              193 F. Supp. 3d 1096 (N.D. Cal. 2016) .......................................................... 7
     5
       Ellis v. Costco Wholesale Corp.,
     6        657 F.3d 970 (9th Cir. 2011) ......................................................................... 20
    7 Estate of Migliaccio v. Midland Nat’l Life Ins. Co.,
            436 F. Supp. 2d 1095 (C.D. Cal. 2006)........................................................... 7
    8
      Fantasy, Inc. v. Fogerty,
    9       984 F.2d 1524 (9th Cir. 1993),
            overruled on other grounds, 510 U.S. 517 (1994) .......................................... 7
   10
      Fenton v. McLane/Suneast, Inc.,
   11       2016 WL 11746002 (C.D. Cal. Aug. 22, 2016) .............................................. 6
   12 Franckowiak v. Scenario Cockram USA, Inc.,
           2020 WL 9071697 (C.D. Cal. Nov. 30, 2020) .............................................. 13
   13
      Gordon v. Aerotek, Inc.,
   14      2017 WL 8217410 (C.D. Cal. Oct. 12, 2017) ............................................... 20
   15 Hanon v. Dataproducts Corp.,
            976 F.2d 497 (9th Cir. 1992) ......................................................................... 18
   16
      Hillman v. PacifiCorp,
   17       2022 WL 597583 (E.D. Cal. Feb. 28, 2022) ................................................... 2
   18 Hitco Carbon Composites, Inc.,
            2017 WL 7806358 (C.D. Cal. May 5, 2017) ................................................ 10
   19
      Hovsepian v. Apple, Inc.,
   20       2009 WL 5069144 (N.D. Cal. Dec. 17, 2009) ................................................ 7
   21 In re MacBook Keyboard Litig.,
             2020 WL 6047253 (N.D. Cal. Oct. 13, 2020) ............................................... 13
   22
      In re ZF-TRW Airbag Control Units Prod. Liab. Litig.,
   23        2022 WL 522484 (C.D. Cal. Feb. 9, 2022) ................................................... 13
   24 Jones v. Tirehub, LLC,
            No. 2:21-CV-00564-JAM-DB, 2021 WL 3187551 (E.D. Cal. July 28,
   25       2021) .............................................................................................................. 14
   26 Kemp v. Int’l Bus. Machines Corp.,
            No. C-09-4683 MHP, 2010 WL 4698490 (N.D. Cal. Nov. 8, 2010)............ 14
   27
      Kosta v. Del Monte Foods, Inc.,
   28       308 F.R.D. 217 (N.D. Cal. 2015) ............................................................ 18, 19
                                                    iv
             MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
            STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 5 of 28 Page ID #:176



     1 Krauss v. Wal-Mart, Inc.,
            No. 2:19-CV-00838-JAM-DB, 2020 WL 1874072 (E.D. Cal. Apr. 15,
     2      2020) .............................................................................................................. 14
     3 Lambert v. Nutraceutical Corp.,
            870 F.3d 1170 (9th Cir. 2017) ....................................................................... 18
     4
       Landers v. Quality Commc’ns, Inc.,
     5      771 F.3d 638 (9th Cir. 2014) ............................................. 5, 6, 8, 9, 10, 11, 15
     6 Leitzbach v. Atlas Van Lines, Inc.,
             2017 WL 11617904 (C.D. Cal. Feb. 22, 2017) ............................................... 6
     7
       Maldonado v. Epsilon Plastics, Inc.,
     8       22 Cal. App. 5th 1308 (2018) ........................................................................ 11
    9 Martinez v. Hub Grp. Trucking, Inc.,
            2021 WL 937671 (C.D. Cal. Jan. 11, 2021) ................................................. 13
   10
      McMillian v. Overton Sec. Servs., Inc.,
   11       2017 WL 4150906 (N.D. Cal. Sept. 19, 2017) ............................................... 8
   12 Mendiondo v. Centinela Hosp. Med. Ctr.,
           521 F.3d 1097 (9th Cir. 2008) ......................................................................... 5
   13
      Moss v. U.S. Secret Serv.,
   14      572 F.3d 962 (9th Cir. 2009) ........................................................................... 5
   15 Ovieda v. Sodexo Operations, LLC,
            No. CV 12-1750-GHK SSX, 2013 WL 3887873 (C.D. Cal. July 3, 2013)14, 16
   16
      Perez v. Performance Food Grp., Inc.,
   17       2016 WL 1161508 (N.D. Cal. Mar. 23, 2016) .............................................. 12
   18 Ramirez v. C & J Well Serv., Inc.,
           2020 WL 5846464 (C.D. Cal. Mar. 27, 2020) .............................................. 10
   19
      Reyna v. WestRock Co.,
   20      No. 20-CV-01666-BLF, 2020 WL 5074390 (N.D. Cal. Aug. 24, 2020)...... 15
   21 Ritenour v. Carrington Mortg. Servs. LLC,
            228 F. Supp. 3d 1025 (C.D. Cal. 2017)......................................................... 12
   22
      Rizvanovic v. United Parcel Service, Inc.,
   23       Case No. 21-cv-01278-CDB, Doc. No. 36 (E.D. Cal. January 20, 2023) ...... 1
   24 Sanders v. Apple Inc.,
           672 F. Supp. 2d 978 (N.D. Cal. 2009) ...................................................... 7, 17
   25
      Sanders v. Old Dominion Freight Line, Inc.,
   26      No. EDCV18688DSFSHKX, 2018 WL 6321628 (C.D. Cal. June 25,
           2018) .............................................................................................................. 15
   27
      Shann v. Durham Sch. Servs., L.P.,
   28      182 F. Supp. 3d 1044 (C.D. Cal. 2016)................................................... 6, 7, 9
                                                    v
             MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
            STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 6 of 28 Page ID #:177



     1 Sonner v. Premier Nutrition Corp.,
              971 F.3d 834 (9th Cir. 2020) ......................................................................... 13
     2
       Starr v. Baca,
     3        652 F.3d 1202 (9th Cir. 2011) ......................................................................... 5
     4 Stokes v. CitiMortgage, Inc.,
             2015 WL 709201 (C.D. Cal. Jan. 16, 2015) ................................................... 7
     5
       Suarez v. Bank of Am. Corp.,
     6       No. 18-cv-01202-MEJ, 2018 WL 2431473 (N.D. Cal. May 30, 2018) ........ 12
     7 Tan v. GrubHub, Inc.,
             171 F. Supp. 3d 998 (N.D. Cal. 2016) .......................................................... 15
     8
       W. Mining Council v. Watt,
     9       643 F.2d 618 (9th Cir. 1981) ........................................................................... 5
   10 Williams v. Oberon Media, Inc.,
            468 F. App’x 768 (9th Cir. 2012).................................................................. 19
   11
      Wood v. N. Am. Van Lines, Inc.,
   12       2021 WL 3134203 (C.D. Cal. July 23, 2021) ................................................. 6
   13 Zamora v. Penske Truck Leasing Co., L.P.,
           2020 WL 4748460 (C.D. Cal. Aug. 17, 2020) ................................................ 6
   14
   15                                                   STATE CASES
   16 Dimon v. Cnty. of L.A.,
           166 Cal. App. 4th 1276 (2008) ...................................................................... 15
   17
      Dunlap v. Sup. Ct.,
   18      142 Cal. App. 4th 330 (2006) ........................................................................ 15
   19 Kim v. Reins Int’l Cal., Inc.,
            9 Cal. 5th 73 (2020) ....................................................................................... 14
   20
      Korea Supply Co. v. Lockheed Martin Corp.,
   21       29 Cal. 4th 1134 (2003)................................................................................. 12
   22 Price v. Starbucks Corp.,
            192 Cal. App. 4th 1136 (2011) ...................................................................... 10
   23
   24                                             FEDERAL STATUTES
   25 29 U.S.C. §§ 201, et seq. ..................................................................................... 2, 15
   26
                                                     STATE STATUTES
   27
           Cal. Bus. & Prof. Code § 17200, et seq. .................................................................. 12
   28
                                                     vi
              MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
             STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 7 of 28 Page ID #:178



     1 Cal. Bus. & Prof. Code §§ 17200, et seq. .................................................................. 2
     2 Cal. Lab. Code § 1194 ............................................................................................... 2
     3 Cal. Lab. Code § 1194.2 ............................................................................................ 2
     4 Cal. Lab. Code § 1197 ............................................................................................... 2
     5 Cal. Lab. Code § 1198 ............................................................................................... 2
     6 Cal. Lab. Code § 201 ................................................................................................. 2
     7 Cal. Lab. Code § 202 ................................................................................................. 2
     8 Cal. Lab. Code § 203 ............................................................................................... 11
     9 Cal. Lab. Code § 226(a) ....................................................................................... 2, 11
   10 Cal. Lab. Code § 226.7 .............................................................................................. 2
   11 Cal. Lab. Code § 510 ................................................................................................. 2
   12 Cal. Lab. Code § 512(a) ............................................................................................. 2
   13 Cal. Lab. Code §§ 2698, et seq. ................................................................................. 2
   14 Cal. Labor Code § 226(e)(1).................................................................................... 10
   15 Fed. R. Civ. Proc., Rule 12(b)(6)........................................................................... 5, 6
   16 Fed. R. Civ. Proc., Rule 8 .......................................................................................... 4
   17
                                                       FEDERAL RULES
   18
           Fed. R. Civ. Proc., Rule 12(f) .......................................................................... 1, 6, 16
   19
           Fed. R. Civ. Proc., Rule 23 .............................................................. 1, 2, 7, 16, 17, 18
   20
           Fed. R. Civ. Proc., Rule 23(a)(3) ............................................................................. 18
   21
           Fed. R. Civ. Proc., Rule 23(b)(3)............................................................................. 18
   22
           Fed. R. Civ. Proc., Rule 23(c)(1)(A) ....................................................................... 16
   23
           Fed. R. Civ. Proc., Rule 23(d)(1)(D) ....................................................................... 16
   24
   25
   26
   27
   28
                                                     vii
              MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
             STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 8 of 28 Page ID #:179



     1 I.          INTRODUCTION
     2             Defendant Everi Games Inc. (“Everi”) moves to dismiss Plaintiff Jose
     3 Valenzuela’s (“Plaintiff”) First Amended Complaint because it asserts putative wage-
     4 and-hour class action claims against his former employer based on nothing more than
     5 a series of conclusory and boilerplate allegations. The generic nature of such allegations
     6 could be levied against any employer. Indeed, the First Amended Complaint comes on
     7 the heels of an unrelated complaint filed by Plaintiff’s counsel that lodges almost
     8 identical class action claims and nearly verbatim class allegations against United Parcel
     9 Services. The only substantive difference between that case and the underlying
   10 complaint is the addition of generic Private Attorney General Act (“PAGA”) and Fair
   11 Labor Standards Act (“FLSA”) claims. 1 See Request for Judicial Notice (“RJN”) Ex.
   12 A. Federal courts routinely dismiss complaints under the Twombly/Iqbal standard
   13 when, as here, a complaint lacks sufficient factual matter and instead relies on generic
   14 conclusory assertions. Plaintiff fails to meet the pleading standard as a matter of law,
   15 including by failing to allege factual allegations sufficient to support his nine (9) claims
   16 for relief. Thus, Mr. Valenzuela’s First Amended Complaint should be dismissed in its
   17 entirety with prejudice.
   18              Furthermore, it is imperative that the Court dismiss and/or strike Plaintiff’s class
   19 claims and allegations, as well as his requests for injunctive relief. Claims that are not
   20 suitable for class treatment may be dismissed at the pleading stage for failure to meet
   21 the Twombly/Iqbal standard or stricken pursuant to Federal Rule of Civil Procedure
   22 12(f) when it is clear on the face of the complaint that a class action cannot be
   23 maintained under FRCP Rule 23. Here, Plaintiff fails to allege facts sufficient to satisfy
   24 the requisite pleading standard. Nor is it plausible that Plaintiff can satisfy the
   25
   26   UPS moved to dismiss Plaintiff’s class claims and to compel arbitration of the
           1
      individual claims. The court granted the motion to compel arbitration and stayed its
   27 decision on the motion to dismiss pending the outcome of the arbitration, which is
      ongoing. See Rizvanovic v. United Parcel Service, Inc., Case No. 21-cv-01278-CDB,
   28 Doc. No. 36 (E.D. Cal. January 20, 2023).
                                                       1
                MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
               STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 9 of 28 Page ID #:180



     1 predominance requirement of Federal Rule of Civil Procedure 23 as to a class of all
     2 non-exempt Everi employees in California, or any subclass of those employees.
     3 Moreover, Plaintiff lacks standing to pursue injunctive relief because he has not been
     4 employed by Everi since 2022. Accordingly, the Court should dismiss and/or strike all
     5 of the class claims and allegations and requests for injunctive relief from the First
     6 Amended Complaint.
     7 II.     BACKGROUND
     8         Plaintiff initiated this action on September 13, 2023, and filed his First Amended
     9 Complaint on November 17, 2023 (the “FAC”). Everi executed a Notice of
   10 Acknowledgment of Receipt of the FAC and summons on December 11, 2023.
   11 Accordingly, service of the FAC and summons was not effective until that date. See,
   12 e.g., Hillman v. PacifiCorp, 2022 WL 597583, at *5 (E.D. Cal. Feb. 28, 2022) (“Under
   13 California law, which governs the means by which service can be effectuated, a
   14 summons is deemed served by [notice of acknowledgment and receipt] on the date the
   15 ‘acknowledgment of receipt of summons is executed and returned.’”). Everi thus timely
   16 removed this action to this Court on January 10, 2024.
   17          Plaintiff’s FAC alleges nine causes of action against Everi: (1) Violation of
   18 California Labor Code §§ 510, 1194 and 1198 (Unpaid Overtime); (2) Violation of
   19 California Labor Code §§ 226.7 and 512(a) (Unpaid Meal Period Premiums); (3)
   20 Violation of California Labor Code § 226.7 (Unpaid Rest Period Premiums); (4)
   21 Violation of California Labor Code §§ 1194, 1194.2, 1197, and Minimum Wage Order
   22 (Failure to Pay Minimum Wage); (5) Violation of California Labor Code § 226(a)
   23 (Failure to Furnish Timely and Accurate Wage Statements); (6) Violation of Labor
   24 Code §§ 201 and 202 (Wages Not Timely Paid Upon Termination); (7) Violation of
   25 California Business & Professions Code §§ 17200, et seq.; (8) Violation of California
   26 Labor Code §§ 2698, et seq.; and (9) Violation of 29 U.S.C. §§ 201, et seq.
   27          Plaintiff asserts all of his claims on behalf of a proposed class comprising “[a]ll
   28 current and/or former non-exempt employees that worked for Defendants in California
                                                   2
            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 10 of 28 Page ID #:181



     1 within four years prior to the filing of this Complaint.” FAC ¶ 24. Plaintiff also proposes
     2 that the class be divided into the following seven subclasses: (1) overtime; (2) meal
     3 period; (3) rest break; (4) unpaid wages; (5) waiting time; (6) wage statement; and (7)
     4 FLSA. FAC ¶ 25. Except for a slightly modified class definition and addition of a FLSA
     5 subclass, Plaintiff’s class action allegations are identical to Plaintiff’s counsel’s
     6 pending class action complaint against UPS, including each of the purported “common
     7 questions of law and fact as to the Class” alleged by Plaintiff. Compare RJN Ex. A with
     8 FAC ¶¶ 22-29.
     9         Despite being more than 114 paragraphs long, the FAC includes minimal factual
   10 allegations found in paragraphs 5, 7, and 12-14, in which Plaintiff alleges the identity
   11 of the parties and supplies a handful of broad details about his employment by Everi.
   12 Specifically, Plaintiff alleges that he was employed “as a Field Technician II from
   13 August 2021 to September 16, 2022,” earning “$29 an hour,” during which time he
   14 “maintained, repaired and replaced casino games, e.g., slot machines, at the casinos,”
   15 which required “Plaintiff to, on average, work three work orders or tickets at different
   16 casinos every shift.” See FAC ¶¶ 12-13. Plaintiff alleges that he “typically worked a 6
   17 am to 5 pm shift and travelled alone to three different casinos in San Diego, Riverside
   18 and Arizona—all in one shift,” that he was required “to drive 1.5 to 2 hours to each
   19 casino location and back home,” and that he “travelled and worked alone at the casinos
   20 so there was nobody to relieve him for his meal and rest breaks.” Id. ¶ 14.
   21          The remaining allegations consist of boilerplate language and legal conclusions,
   22 most of which are verbatim from Plaintiff’s counsel’s previous class action complaint
   23 against UPS (the “UPS Complaint”). See RJN Ex. A. For example, the FAC and the
   24 UPS Complaint lodge identical conclusory allegations that “[d]uring the course of
   25 Plaintiff’s employment, Defendants failed to compensate Plaintiff and Class members
   26 for all overtime hours worked in excess of eight hours per day and/or 40 hours per
   27 week,” and that “Plaintiff and Class members were not authorized or permitted lawful
   28 meal periods” and “were not authorized or permitted lawful rest breaks.” FAC ¶¶ 15-
                                                   3
            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 11 of 28 Page ID #:182



     1 16, 19. More importantly, Plaintiff’s claims lack supporting factual allegations, such as
     2 the number of shifts he worked in an average week, the amount of overtime hours he
     3 worked, and the approximate unpaid amount of overtime compensation. Nor does
     4 Plaintiff allege any actual dates or locations where or when the alleged unpaid overtime
     5 and/or refusal to permit meal or rest breaks occurred; which Everi employees required
     6 Plaintiff to work off-the-clock and not take any meal or rest breaks; or what work
     7 assignments supposedly required Plaintiff to work overtime without compensation
     8 and/or prevented Plaintiff from taking any meal or rest breaks.
     9         Similarly, Plaintiff’s class allegations are factually deficient. For example, while
   10 Plaintiff proposes subclasses for “current and/or former non-exempt employees that
   11 worked for Defendants in California” and “were not paid overtime compensation for
   12 all hours worked in excess of eight hours per day and/or 40 hours per week,” or “were
   13 not authorized or permitted to take a 30-minute, uninterrupted meal period for every
   14 five hours worked,” or “were not authorized or permitted to take a 10-minute,
   15 uninterrupted rest break for every four hours worked” (FAC ¶¶ 24-25), Plaintiff fails to
   16 allege any factual details that could make these conclusory allegations plausible.
   17          No facts are pled demonstrating that other putative class members also worked
   18 as Field Technicians, that their schedules regularly exceeded eight hours per day and/or
   19 40 hours per week, that they were improperly denied overtime pay, or the dates or
   20 locations of even a single meal or rest break that was supposedly denied—much less
   21 why it was denied, when or by whom. All of Plaintiff’s proposed subclasses except for
   22 the FLSA subclass are copied verbatim from Plaintiff’s counsel’s prior class action
   23 complaint against UPS. See RJN Ex. A.
   24          In the instant case, Plaintiff’s allegations are insufficient to establish the elements
   25 of his claims for relief, and on its face the FAC does not satisfy federal pleading
   26 standards. See Fed. R. Civ. P. 8. The Court is thus vested with the discretion to dismiss
   27 insufficiently plead claims for relief. Therefore, the Court should grant Everi’s Motion
   28 to Dismiss Plaintiff’s FAC in its entirety.
                                                   4
            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 12 of 28 Page ID #:183



     1 III.    LEGAL STANDARD
     2         A.     Rule 12(b)(6) Motion To Dismiss A Wage And Hour Claim
     3         A motion to dismiss under FRCP Rule 12(b)(6) tests the legal sufficiency of the
     4 claims asserted in a complaint. To survive a Rule 12(b)(6) motion to dismiss, a
     5 complaint must articulate “enough facts to state a claim to relief that is plausible on its
     6 face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). The “plausibility
     7 standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer
     8 possibility that a defendant has acted unlawfully” or “facts that are ‘merely consistent
     9 with’ a defendant’s liability.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting
   10 Twombly, 550 U.S. at 556-57). Thus, a complaint must contain “more than labels and
   11 conclusions” or “a formulaic recitation of the elements of a cause of action.” Twombly,
   12 550 U.S. at 555; Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir. 2009). The
   13 Court also may not “assume the truth of legal conclusions merely because they are cast
   14 in the form of factual allegations.” W. Mining Council v. Watt, 643 F.2d 618, 624 (9th
   15 Cir. 1981); Iqbal, 556 U.S. at 679 “[W]hile legal conclusions can provide the
   16 framework of a complaint, they must be supported by factual allegations.”).
   17          To properly state a claim a complaint must “contain sufficient allegations of
   18 underlying facts to give fair notice and to enable the opposing party to defend itself
   19 effectively,” such that “it is not unfair to require the opposing party to be subjected to
   20 the expense of discovery and continued litigation.” Starr v. Baca, 652 F.3d 1202, 1216
   21 (9th Cir. 2011). Dismissal is therefore proper when the complaint either (1) lacks a
   22 cognizable legal theory; or (2) fails to allege sufficient facts to support a cognizable
   23 legal theory. Twombly, 550 U.S. at 555; Mendiondo v. Centinela Hosp. Med. Ctr., 521
   24 F.3d 1097, 1104 (9th Cir. 2008).
   25          Specifically in the wage-and-hour context, the Ninth Circuit held in the seminal
   26 case of Landers v. Quality Commc’ns, Inc., 771 F.3d 638, 646 (9th Cir. 2014) that a
   27 complaint pleads facts sufficient to state a wage-and-hour claim that is plausible, rather
   28 than merely conceivable, when and only when the complaint asserts facts about specific
                                                   5
            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 13 of 28 Page ID #:184



     1 periods of time (e.g., a specific workweek) when the alleged wage-and-hour violations
     2 occurred. Here, such information is wholly absent from the FAC.
     3         Recently, in Boyack v. Regis Corp., 812 F. App’x 428 (9th Cir. 2020), the Ninth
     4 Circuit applied the Landers rule to affirm the dismissal of California wage-and-hour
     5 claims for unpaid minimum wages, unpaid overtime, rest break violations, failure to
     6 pay wages upon termination, inaccurate wage statements, and unfair business practices
     7 under circumstances similar to this case. The Ninth Circuit held that dismissal was
     8 proper because the complaint “fails to allege a workweek” in which the violations
     9 occurred, and instead “provides only conclusory allegations reciting the statutory
   10 elements.” Id. at 431; see also Shann v. Durham Sch. Servs., L.P., 182 F. Supp. 3d
   11 1044, 1048 (C.D. Cal. 2016) (“The pleading standards set forth in Landers apply
   12 equally to Plaintiffs’ state overtime, minimum wage, meal period, and rest break
   13 allegations.”).
   14          In line with this precedent, judges in the Central District routinely grant
   15 Rule 12(b)(6) motions to dismiss wage-and-hour complaints that fail to specify facts
   16 creating a plausible inference that the employer committed the alleged wage-and-hour
   17 violations. See, e.g., Wood v. N. Am. Van Lines, Inc., 2021 WL 3134203, at *9 (C.D.
   18 Cal. July 23, 2021) (applying Landers pleading standard and dismissing wage-and-hour
   19 claims for lack of sufficient factual allegations); Leitzbach v. Atlas Van Lines, Inc.,
   20 2017 WL 11617904, at *10-13 (C.D. Cal. Feb. 22, 2017) (same); Fenton v.
   21 McLane/Suneast, Inc., 2016 WL 11746002, at *2-3 (C.D. Cal. Aug. 22, 2016) (same).
   22 The Central District also routinely dismisses wage-and-hour claims that generically
   23 plead only that an employer “regularly” committed a Labor Code violation, as Plaintiff
   24 does here (see FAC ¶¶ 17, 34). Zamora v. Penske Truck Leasing Co., L.P., 2020 WL
   25 4748460, at *6 (C.D. Cal. Aug. 17, 2020) (dismissing overtime, minimum wage, and
   26 meal and rest period claims based only on conclusory allegations).
   27          B.     Rule 12(f) Motion To Strike
   28          Federal Rule of Civil Procedure 12(f) allows parties to move to strike “any
                                                   6
            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 14 of 28 Page ID #:185



     1 redundant, immaterial, impertinent, or scandalous matter.” The purpose of such a
     2 motion is to avoid spending time and money litigating spurious issues. Fantasy, Inc. v.
     3 Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993), overruled on other grounds, 510 U.S.
     4 517 (1994). Thus, a court may strike language seeking relief that is not recoverable as
     5 a matter of law. See Estate of Migliaccio v. Midland Nat’l Life Ins. Co., 436 F. Supp.
     6 2d 1095, 1100 (C.D. Cal. 2006). A court may also strike class action allegations that
     7 are deficient as a matter of law. Hovsepian v. Apple, Inc., 2009 WL 5069144, at *2
     8 (N.D. Cal. Dec. 17, 2009) (“Under Rules 23(c)(1)(A) and 23(d)(1)(D), as well as
     9 pursuant to Rule 12(f), this Court has authority to strike class allegations prior to
   10 discovery if the complaint demonstrates that a class action cannot be maintained.”)
   11          For class action allegations to survive the pleading stage, the complaint must
   12 plead facts sufficient “to justify the action’s proceeding as a class action” under Rule
   13 23. Shann, 182 F. Supp. 3d at 1048 (dismissing class claims lacking “substantive
   14 allegations”); see also Byrd v. Masonite Corp., 2016 WL 756523, at *4 (C.D. Cal. Feb.
   15 25, 2016) (dismissing class allegations where plaintiff failed to allege facts to support
   16 finding that employer had “statewide policies or practices giving rise to [plaintiff’s]
   17 causes of action” or that “member[s] of the putative class had similar work
   18 experiences”); Stokes v. CitiMortgage, Inc., 2015 WL 709201, at *4, 8-10 (C.D. Cal.
   19 Jan. 16, 2015) (striking class allegations due to lack of commonality and noting that
   20 “[i]t is . . . appropriate to strike class allegations prior to discovery where the allegations
   21 make it obvious that classwide relief is not available.”). Class allegations “must at least
   22 be plausible,” or they are properly subject to a motion to strike. Edwards v. Oportun,
   23 Inc., 193 F. Supp. 3d 1096, 1100 (N.D. Cal. 2016); Sanders v. Apple Inc., 672 F. Supp.
   24 2d 978, 990 (N.D. Cal. 2009) (“Where the complaint demonstrates that a class action
   25 cannot be maintained on the facts alleged, a defendant may move to strike class
   26 allegations prior to discovery.”).
   27
   28
                                                   7
            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 15 of 28 Page ID #:186



     1 IV.     LEGAL ARGUMENT
     2         As set forth below, the FAC fails to plead sufficient facts to plausibly entitle
     3 Plaintiff to any relief and should, therefore, be dismissed in its entirety. Additionally,
     4 the Court should dismiss or strike Plaintiff’s class action claims and allegations and
     5 requests for injunctive relief as they are all deficient as a matter of law.
     6         A.     All Of Plaintiff’s Claims Fail
     7                1.     Plaintiff Fails To Allege Sufficient Facts To Support His Unpaid
     8                       Overtime And Minimum Wage Claims (Claims 1, 4)
     9         Plaintiff’s overtime violation claim (FAC ¶¶ 30-37) and minimum wage
   10 violation claim (FAC ¶¶ 55-60) fail because Plaintiff fails to plead any non-conclusory
   11 factual allegations that plausibly support an inference of a claim for relief. Under
   12 Landers, overtime and minimum wage claims must be dismissed if the complaint does
   13 not allege any facts establishing that there was “at least one workweek when [the
   14 plaintiff] worked in excess of forty hours and was not paid for the excess hours in that
   15 workweek, or was not paid minimum wages.” Landers, 771 F.3d at 646.
   16          That is precisely the case here. The only factual allegations Plaintiff offers in
   17 support of his claims are that he “typically worked a 6 am to 5 pm shift” and that Everi
   18 supposedly “required Plaintiff to drive 1.5 to 2 hours to each casino location and back
   19 home.” FAC ¶ 14. These barebones assertions are insufficient to plausibly state an
   20 unpaid overtime claim. See, e.g., Boyack, 812 F. App’x at 430 (affirming dismissal of
   21 unpaid overtime claims where a complaint “fails to allege a workweek in which [the
   22 plaintiffs] worked more than forty hours and were not paid overtime”); Boian v.
   23 Schneider Logistics Transloading and Distrib., Inc., 2020 WL 5356707, at *7-8 (C.D.
   24 Cal. May 28, 2020) (dismissing overtime claim even when the complaint alleged a
   25 typical shift length, that pre-shift work occurred and took 15 minutes, and that post-
   26 shift work occurred and took 15-30 minutes); McMillian v. Overton Sec. Servs., Inc.,
   27 2017 WL 4150906, at *3 (N.D. Cal. Sept. 19, 2017) (dismissing overtime claim because
   28 “rather than alleging a typical number of hours worked, Plaintiff made a vague
                                                   8
            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 16 of 28 Page ID #:187



     1 reference to work ‘in excess of eight hours a day” which “do[es] not support an
     2 overtime claim”).
     3         The FAC also does not plausibly state an unpaid minimum wage claim. See
     4 Boyack, 812 F. App’x at 430 (affirming dismissal of unpaid minimum wage claim for
     5 which the plaintiff failed to plausibly allege he “received less than minimum wages for
     6 all hours worked”); Cortez v. United Nat. Foods, Inc., 2019 WL 955001, at *12 (N.D.
     7 Cal. Feb. 27, 2019) (dismissing unpaid minimum wage claim while emphasizing,
     8 “Plaintiff provides no facts about his work duties, his hours worked, or any other details
     9 relevant to the number of hours he worked at any time or in any week”). Given the
   10 absence of any facts to support his claims, Plaintiff’s unpaid overtime and minimum
   11 wages claims should be dismissed.
   12                 2.     Plaintiff Fails To Allege Sufficient Facts To Support His Meal
   13                        And Rest Break Violation Claims (Claims 2, 3)
   14          Plaintiff’s unpaid meal premiums claim (FAC ¶¶ 38-46) and unpaid rest period
   15 premiums claim (FAC ¶¶ 47-54) also fail because Plaintiff fails to plead any non-
   16 conclusory facts that plausibly support an inference of a claim for relief.
   17          Under the Landers standard, to state a plausible meal or rest break claim Plaintiff
   18 must plead at least one concrete instance of a meal or rest break violation. Landers, 771
   19 F.3d at 646; Shann v. Durham Sch. Servs., L.P., 182 F. Supp. 3d 1044, 1048 (C.D. Cal.
   20 2016) (“The pleading standards set forth in Landers apply equally to Plaintiffs’ state
   21 overtime, minimum wage, meal period, and rest break allegations.”). Yet not one
   22 detailed instance of any such violation by Everi is alleged in the FAC.
   23          The only factual allegation underlying Plaintiff’s unpaid meal premium and
   24 unpaid rest period premium claims is that he “travelled and worked alone at the casinos
   25 so there was nobody to relieve him for his meal and rest breaks.” FAC ¶ 14. This generic
   26 allegation is insufficient under Landers. See, e.g., Boyack, 812 F. App’x at 431
   27 (dismissing rest break claim because “the plaintiffs failed to allege a single workweek
   28 in which [the employer] impeded or discouraged [the plaintiffs] from taking rest
                                                   9
            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 17 of 28 Page ID #:188



     1 breaks); Durham v. Autism Spectrum Therapies, LLC, 2019 WL 10097456, at *2-3
     2 (C.D. Cal. Oct. 31, 2019) (same); Ramirez v. C & J Well Serv., Inc., 2020 WL 5846464,
     3 at *4 (C.D. Cal. Mar. 27, 2020) (dismissing meal and rest break claims where plaintiff
     4 failed to allege facts showing his employer actively prevented or discouraged
     5 employees from taking breaks); Dawson v. Hitco Carbon Composites, Inc., 2017 WL
     6 7806358, at *2-3 (C.D. Cal. May 5, 2017) (same).
     7         Based on the complete absence of any factual allegation demonstrating a single
     8 concrete instance of a meal or rest break violation, Plaintiff’s second and third claims
     9 for relief should be dismissed.
   10                 3.     Plaintiff Fails To Allege Sufficient Facts To Support His Wage
   11                        Statement Violation Claim (Claim 5)
   12          As with all his other claims, Plaintiff’s claim for failure to furnish timely and
   13 accurate wage statements (FAC ¶¶ 61-68) fails because Plaintiff again fails to plead
   14 any non-conclusory facts that plausibly support an inference of a claim for relief.
   15 Twombly, 550 U.S. at 570. Plaintiff fails to plead facts reflecting a single instance of
   16 Everi failing to furnish him with timely and accurate wage statements. Accordingly,
   17 this claim is insufficiently pled and should be dismissed under Landers. See Boyack,
   18 812 F. App’x at 431 (applying the Landers standard and affirming dismissal where the
   19 complaint “provide[d] only conclusory allegations reciting the statutory elements,” as
   20 Plaintiff does here).
   21          Plaintiff’s wage statement claim should also be dismissed because Plaintiff fails
   22 to allege any cognizable injury that supposedly resulted from the purported wage
   23 statement violations, which is a required element of this claim. Cal. Labor Code
   24 § 226(e)(1); see also Price v. Starbucks Corp., 192 Cal. App. 4th 1136, 1143 (2011)
   25 (employee seeking to recover for wage statement violations must “demonstrate[ ] an
   26 injury arising from the missing information”); Apodaca v. Costco Wholesale Corp., 675
   27 F. App’x 663, 665 (9th Cir. 2017) (“To establish a section 226 claim, the plaintiff must
   28 demonstrate both a violation of subsection 226(a) and an injury under subsection
                                                   10
            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 18 of 28 Page ID #:189



     1 226(e).”). Under Labor Code section 226(a), a cognizable injury in this context only
     2 occurs if an employer fails to provide a wage statement at all—which the FAC does not
     3 allege—or “if one of five specific categories [of information] is omitted, and, even then,
     4 only if a reasonable person would be unable to readily ascertain the missing information
     5 without reference to other documents or information,” which is also not alleged here.
     6 Maldonado v. Epsilon Plastics, Inc., 22 Cal. App. 5th 1308, 1335 (2018); Avina v.
     7 Marriott Vacations Worldwide Corp., No. SACV1800685JVSJPRX, 2018 WL
     8 6844713, at *5 (C.D. Cal. Oct. 15, 2018) (“Since Avina has not alleged that he did not
     9 receive a wage statement, to show injury he must allege facts that indicate that he could
   10 not promptly and easily determine what wages he was already paid or that the wage
   11 statements otherwise failed to comply with § 226(a)’s requirements. It is not enough
   12 that he allege that the statements were inaccurate.”). As Plaintiff fails to allege any facts
   13 demonstrating injury, his wage statement claim must be dismissed.
   14                 4.     Plaintiff Fails To Plausibly Allege Sufficient Facts Supporting
   15                        His Claim For Waiting Time Penalties (Claim 6)
   16          Plaintiff’s claim that he is entitled to so-called “waiting time penalties” because
   17 Everi purportedly failed to timely pay Plaintiff’s wages upon termination also fails.
   18 FAC ¶¶ 69-75. Plaintiff pleads no facts supporting his entitlement to relief, including
   19 that any violations by Everi were “willful.” See Cal. Labor Code § 203. In fact, Plaintiff
   20 fails even to include the most basic allegation that he was not timely paid his wages
   21 upon termination. See FAC ¶ 71. Instead, the FAC merely parrots the statutory
   22 provisions providing for waiting time penalties. Yet there are no facts pled
   23 demonstrating Plaintiff is entitled to relief. See FAC ¶¶ 69-75.
   24          This is insufficient to state a claim. See, e.g., Boyack, 812 F. App’x at 431 (9th
   25 Cir. 2020) (applying Landers to affirm dismissal of a claim for “failure to pay wages
   26 owed upon termination” because the complaint “provides only conclusory allegations
   27 reciting the statutory elements” of that claim); Durham, 2019 WL 10097456, at *4
   28 (C.D. Cal. Oct. 31, 2019) (dismissing waiting time penalty claim because the
                                                   11
            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 19 of 28 Page ID #:190



     1 “conclusory allegations are not sufficient to show that Defendant owed Plaintiff wages
     2 at the time of termination.”); Suarez v. Bank of Am. Corp., No. 18-cv-01202-MEJ, 2018
     3 WL 2431473, at *9 (N.D. Cal. May 30, 2018) (dismissing waiting time penalty claim
     4 because “[m]erely alleging willfulness is insufficient to satisfy Rule 8; rather Plaintiff
     5 must support that allegation with facts.”); Ritenour v. Carrington Mortg. Servs. LLC,
     6 228 F. Supp. 3d 1025, 1033 (C.D. Cal. 2017) (dismissing “causes of action for failure
     7 to pay wages timely upon discharge and during employment [where complaint]
     8 contain[ed] no description of what wages were due, when they were due, and when, if
     9 at all, they were paid”); Perez v. Performance Food Grp., Inc., 2016 WL 1161508, at
   10 *5 (N.D. Cal. Mar. 23, 2016) (dismissing waiting time penalties claim, noting that
   11 “Plaintiff’s allegations . . . fail[] to allege specific facts showing a willful refusal to pay
   12 wages after Plaintiff’s termination”). For all these reasons, Plaintiff’s waiting time
   13 penalty claim should likewise be dismissed.
   14                 5.     Plaintiff’s UCL Claim Fails Because He Cannot Plead An
   15                        Inadequate Remedy At Law (Claim 7)
   16          Plaintiff’s generic claim for violation of California’s Unfair Competition Law
   17 (California Business & Professions Code § 17200, et seq.) also fails. See FAC ¶¶ 76-
   18 92. As with all his other claims, Plaintiff fails to plausibly allege any facts establishing
   19 a predicate violation on which a UCL claim may be based. As a derivative claim,
   20 insomuch as all of Plaintiff’s other claims are inadequately pled, the UCL claim fails.
   21          Even if Plaintiff had managed to plead a predicate violation, which he does not,
   22 the UCL only provides equitable remedies in private actions. See Korea Supply Co. v.
   23 Lockheed Martin Corp., 29 Cal. 4th 1134, 1144 (2003) (UCL actions are equitable in
   24 nature and prevailing plaintiffs are “limited to injunctive relief and restitution.”). When
   25 a state law claim for equitable relief is before a federal court, “‘[t]he necessary
   26 prerequisite’ for a court to award equitable remedies is ‘the absence of an adequate
   27 remedy at law.’” Barranco v. 3D Sys. Corp., 952 F.3d 1122, 1129 (9th Cir. 2020)
   28 (quoting Dairy Queen, Inc. v. Wood, 369 U.S. 469, 478 (1962)). Thus, to be entitled to
                                                   12
            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 20 of 28 Page ID #:191



     1 relief, Plaintiff “must establish that []he lacks an adequate remedy at law before
     2 securing equitable restitution for past harm under the UCL.” Sonner v. Premier
     3 Nutrition Corp., 971 F.3d 834, 844 (9th Cir. 2020).
     4         Plaintiff does not and cannot plausibly allege that he lacks an adequate legal
     5 remedy. Indeed, Plaintiff’s other Labor Code claims are based on the same purported
     6 issues as his UCL claim and provide for monetary damages and penalties, which
     7 Plaintiff seeks in his Prayer for Relief. Courts regularly dismiss UCL claims under
     8 similar circumstances. See, e.g., In re ZF-TRW Airbag Control Units Prod. Liab. Litig.,
     9 2022 WL 522484, at *72 (C.D. Cal. Feb. 9, 2022) (dismissing UCL claim based on
   10 “insufficient” “conclusory allegation” that “‘Plaintiffs and Class members do not have
   11 an adequate remedy at law.’”); Martinez v. Hub Grp. Trucking, Inc., 2021 WL 937671,
   12 at *8 (C.D. Cal. Jan. 11, 2021) (dismissing UCL claim derivative of wage-and-hour
   13 claims because the complaint “does not establish that Plaintiff does not have an
   14 adequate remedy at law”); Franckowiak v. Scenario Cockram USA, Inc., 2020 WL
   15 9071697 (C.D. Cal. Nov. 30, 2020) (dismissing UCL claim with prejudice because
   16 “Plaintiff has not, and cannot, successfully allege that his legal remedies are inadequate
   17 because his claims for restitution and injunctive relief are premised on the allegedly
   18 unpaid wages (i.e., a legal remedy). Indeed, it is well established that the California
   19 Labor Code provides legal damages to fully compensate workers for unpaid wages.”).
   20          Accordingly, Plaintiff’s UCL claim should be dismissed with prejudice. See
   21 Alvarado v. Wal-Mart Assocs., Inc., No. CV 20-01926-AB (KKX), 2020 WL 6532868,
   22 at *3 (C.D. Cal. Oct. 22, 2020) (dismissing UCL claim derivative of Labor Code claims
   23 with prejudice because plaintiff could not show “that she lacks an adequate remedy at
   24 law for the wage and hour violations”); In re MacBook Keyboard Litig., 2020 WL
   25 6047253, at *4 (N.D. Cal. Oct. 13, 2020) (dismissing UCL claim without leave to
   26 amend when “the availability of an adequate legal remedy is clear from the face of the
   27 [operative complaint] and thus further amendment of the complaint would be futile”).
   28
                                                   13
            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 21 of 28 Page ID #:192



     1                6.     Plaintiff’s PAGA Claim (Claim 8) Should Be Dismissed
     2         Plaintiff’s PAGA claim should be dismissed because Plaintiff fails to sufficiently
     3 allege he exhausted his administrative remedies, and because Plaintiff’s PAGA claim
     4 is derivative of his deficient Labor Code claims.
     5                       a.     Plaintiff Fails To Show Administrative Exhaustion
     6         A PAGA claim is an enforcement action between the Labor and Workforce
     7 Development Agency (“LWDA”) and the employer, with the PAGA plaintiff acting on
     8 behalf of the government. Kim v. Reins Int’l Cal., Inc., 9 Cal. 5th 73, 86 (2020). “PAGA
     9 sets forth an administrative exhaustion requirement to give the [LWDA] ‘the initial
   10 opportunity to investigate and cite employers for Labor Code violations.’” Ovieda v.
   11 Sodexo Operations, LLC, No. CV 12-1750-GHK SSX, 2013 WL 3887873, at *3 (C.D.
   12 Cal. July 3, 2013). To demonstrate exhaustion, Plaintiff must include a copy of his
   13 LWDA submission with his complaint. Krauss v. Wal-Mart, Inc., No. 2:19-CV-00838-
   14 JAM-DB, 2020 WL 1874072, at *9 (E.D. Cal. Apr. 15, 2020) (“Without including the
   15 facts and theories Plaintiff provided to LWDA in her complaint, the Court cannot
   16 ‘independently conclude that [she] has satisfied the requirements of the statute as a
   17 matter of law.’”) (citation omitted). Failure to provide this information cannot be cured
   18 by a subsequent submission of an LWDA complaint. See Jones v. Tirehub, LLC, No.
   19 2:21-CV-00564-JAM-DB, 2021 WL 3187551, at *2 (E.D. Cal. July 28, 2021) (“[T]he
   20 Court may not consider Plaintiff’s [LWDA complaint]—which is not appended to the
   21 complaint but rather to the opposition brief—in its analysis.”).
   22          Here, Plaintiff makes only a conclusory assertion that “[o]n September 13, 2023
   23 Plaintiff provided written notice online to the LWDA” (FAC ¶ 100) but he fails to attach
   24 anything to the FAC or provide any details. Accordingly, Plaintiff’s PAGA claim
   25 should be dismissed. See Jones, 2021 WL 3187551, at *2-3 (dismissing PAGA claim
   26 based on failure to attach LWDA complaint); Krauss, 2020 WL 1874072, at *9 (same);
   27 Kemp v. Int’l Bus. Machines Corp., No. C-09-4683 MHP, 2010 WL 4698490, at *3
   28 (N.D. Cal. Nov. 8, 2010) (same).
                                                   14
            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 22 of 28 Page ID #:193



     1                       b.     The PAGA Claim Is Derivative Of The Other Claims
     2         “PAGA ‘was adopted to empower aggrieved employees, acting as private
     3 attorneys general, to seek civil penalties for Labor Code violations.” Dimon v. Cnty. of
     4 L.A., 166 Cal. App. 4th 1276, 1280 n.5 (2008) (quoting Dunlap v. Sup. Ct., 142 Cal.
     5 App. 4th 330, 336 (2006)). PAGA claims are thus derivative of underlying violations
     6 of the Labor Code and can only proceed if the underlying claims are adequately pled.
     7 See id.; Reyna v. WestRock Co., No. 20-CV-01666-BLF, 2020 WL 5074390, at *12
     8 (N.D. Cal. Aug. 24, 2020) (“Plaintiff’s PAGA claim does not add any factual
     9 allegations and is derivative of her Labor Code claims.”). If the underlying substantive
   10 claims are dismissed, the derivative PAGA claim must be dismissed as well. See, e.g.,
   11 Carlos v. Wal-Mart Assocs., Inc., No. EDCV2100294ABKKX, 2021 WL 4924774, at
   12 *5 (C.D. Cal. Aug. 13, 2021) (dismissing derivative PAGA claim); Derik Duley v.
   13 Centerra Grp., LLC, No. 219CV08754ABJCX, 2020 WL 6526369, at *5 (C.D. Cal.
   14 Mar. 18, 2020) (same); Sanders v. Old Dominion Freight Line, Inc., No.
   15 EDCV18688DSFSHKX, 2018 WL 6321628, at *4 (C.D. Cal. June 25, 2018) (same).
   16          As Plaintiff’s PAGA claim is boilerplate with no factual allegations and all of
   17 Plaintiff’s other claims fail, the derivative PAGA claim should likewise be dismissed.
   18                 7.     The FLSA Claim Is Defectively Pled (Claim 9)
   19          Plaintiff asserts claims under the Fair Labor Standards Act, 29 U.S.C. §§ 201, et.
   20 seq. for failure “to pay the FLSA class for all hours worked” (FAC ¶ 108), to pay the
   21 FLSA class overtime (FAC ¶ 109), and to keep “accurate records of all hours worked”
   22 (FAC ¶ 110). FLSA claims are subject to the same pleading standards as California
   23 Labor Code claims. Thus, the FLSA claim should be dismissed for the same reasons
   24 set forth above regarding Plaintiff’s Labor Code claims. See, e.g., Tan v. GrubHub,
   25 Inc., 171 F. Supp. 3d 998, 1007 n.3 (N.D. Cal. 2016) (collecting cases and finding that
   26 the reasoning in Landers applies “especially” to “overtime and wage claims because
   27 the language of the FLSA and Labor Code provisions is strikingly similar”).
   28
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            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 23 of 28 Page ID #:194



     1         B.     The Court Should Dismiss And/Or Strike All Of The Class Action
     2                Allegations And Claims
     3         Claims that are not suitable for class treatment can be identified at the pleading
     4 stage and Rule 12(f) may be used to strike class allegations, and Rule 23(c)(1)(A) and
     5 23(d)(1)(D) may be used to deny class certification. Plaintiff cannot state a claim in his
     6 individual capacity. Even if he could, he is an atypical and inadequate class
     7 representative who cannot satisfy the Rule 23 requirements to certify a putative class.
     8         The Court may also properly strike the allegations in the FAC that are redundant,
     9 immaterial, and impertinent. The Court should dismiss or strike Plaintiff’s boilerplate
   10 class action allegations because: (1) Plaintiff’s conclusory pleading does not meet the
   11 minimum pleading requirements; (2) early dismissal is appropriate to prevent an
   12 unwarranted risk of discovery abuse regarding what are clearly individual claims; and
   13 (3) it is clear from the face of Plaintiff’s FAC that he cannot satisfy the requirements of
   14 Rule 23 necessary to maintain a class action.
   15                 1.     The Class Allegations Do Not Meet Minimum Pleading
   16                        Requirements
   17          No facts are pled in the FAC to support a putative class. Plaintiff fails to allege
   18 any facts suggesting that any member of the putative class had work experiences similar
   19 to his. See FAC ¶¶ 22-29. Nor does Plaintiff allege any facts showing Everi maintained
   20 statewide policies or practices giving rise to Plaintiff’s claims such that common
   21 questions of fact and/or law predominate and are susceptible to class-wide proof. See
   22 FAC ¶¶ 22-29. Indeed, Plaintiff’s generic class action allegations are virtually identical
   23 to the prior class action Plaintiff’s counsel filed against UPS, which underscores the
   24 complete lack of factual content underlying this case. Accordingly, Plaintiff fails to
   25 satisfy the Iqbal/Twombly pleading requirement. As such, dismissal at the pleading
   26 stage is appropriate. See Ovieda, 2012 WL 1627237, at *4 (“Plaintiff alleges no facts
   27 to demonstrate or even suggest that any member of the putative class had similar work
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            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 24 of 28 Page ID #:195



     1 experiences,” such that Plaintiff’s “conclusory allegation does not meet the minimum
     2 pleading requirements”); Byrd, 2016 WL 756523, at *4 (same).
     3                2.     Early Dismissal Of The Putative Class Claims Is Necessary To
     4                       Avoid Discovery Abuse
     5         Dismissal of Plaintiff’s class claims at the pleadings stage is also appropriate
     6 because allowing Plaintiff to dress up what are clearly individual claims with baseless
     7 and conclusory class allegations invites an unwarranted risk of discovery abuse. See
     8 Alvarado v. Wal-Mart Assocs., Inc., No. CV 20-1926 DSF (JCX), 2020 WL 6526372,
     9 at *3 (C.D. Cal. Aug. 7, 2020) (“Before a plaintiff can obtain class discovery and put a
   10 defendant through the expense of opposing class certification, she must at least
   11 plausibly allege that the asserted claims might apply to others in the putative class.”).
   12 Numerous district courts have dismissed similar class claims at the pleadings stage.
   13 See, e.g., Duran v. Maxim Healthcare Servs. Inc., No. CV 17-01072-AB (EX), 2018
   14 WL 5915644, at *7 (C.D. Cal. Mar. 9, 2018) (“Similar to Plaintiffs’ allegations defining
   15 the aggrieved group for Plaintiffs’ PAGA claim, the Court dismisses Plaintiffs’ class
   16 allegations on the grounds that they are not plausibly alleged, as they are imprecise,
   17 overbroad, and unascertainable.”); Byrd v. Masonite Corp., No. EDCV 16-35 JGB
   18 (KKX), 2016 WL 756523, at *4 (C.D. Cal. Feb. 25, 2016). Here, as in these cases,
   19 Plaintiff’s vague and plainly implausible class allegations are imprecise, overbroad, and
   20 unascertainable and should be dismissed.
   21                 3.     The Court Should Strike Plaintiff’s Class Action Allegations
   22                        For Failure To Satisfy Rule 23
   23          The Court should also strike Plaintiff’s class allegations because the FAC makes
   24 clear that a class action cannot be maintained under Rule 23. See, e.g., Sanders, 672 F.
   25 Supp. 2d at 990 (“Where the complaint demonstrates that a class action cannot be
   26 maintained on the facts alleged, a defendant may move to strike class allegations prior
   27 to discovery.”); see Fed. R. Civ. P. 23(d)(1)(D) (the court may “require that the
   28 pleadings be amended to eliminate allegations about representation of absent persons
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            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 25 of 28 Page ID #:196



     1 and that the action proceed accordingly.”). Although Everi does not address all of the
     2 bases upon which Plaintiff’s proposed class fails under Rule 23, the allegations in
     3 Plaintiff’s FAC reveal deficiencies that no amount of discovery or time will enable
     4 Plaintiff to resolve. See Lambert v. Nutraceutical Corp., 870 F.3d 1170, 1182 (9th Cir.
     5 2017) (“The party seeking to maintain class certification bears the burden of
     6 demonstrating that the Rule 23 requirements are satisfied . . . .”).
     7         First, Plaintiff does not meet the typicality requirement, which requires that a
     8 representative plaintiff’s individual claims “are typical of the claims . . . of the class.”
     9 Fed. R. Civ. P. 23(a)(3). “The test of typicality is whether other members have the same
   10 or similar injury, whether the action is based on conduct which is not unique to the
   11 named plaintiffs, and whether other class members have been injured by the same
   12 course of conduct.” Kosta v. Del Monte Foods, Inc., 308 F.R.D. 217 (N.D. Cal. 2015).
   13 “The purpose of the typicality requirement is to assure that the interest of the named
   14 representative aligns with the interests of the class.” Hanon v. Dataproducts Corp., 976
   15 F.2d 497, 508 (9th Cir. 1992). Here, Plaintiff’s allegation that he maintained a unique
   16 schedule based on his unique work situation that involved traveling between his home
   17 to different casinos as a Field Technician demonstrates that his experience was not
   18 typical of other Everi employees.
   19          Second, Plaintiff’s class claims fail because there is no generalized evidence
   20 applicable to the entire putative class. Specifically, Plaintiff fails to allege “any
   21 questions of law or fact common to all class members” that “predominate over any
   22 questions affecting only individual members, and that a class action is superior to other
   23 available methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ.
   24 P. 23(b)(3); see FAC ¶ 29. For example, Plaintiff fails to plead any facts showing that
   25 the putative class members held the same or similar positions as Plaintiff and
   26 experienced the same purported harms. There are no facts from which the Court could
   27 plausibly conclude that Everi committed any of the violations alleged in the FAC
   28 against Plaintiff—let alone how Everi supposedly did so in a systemic way to affect an
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           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 26 of 28 Page ID #:197



     1 entire class of plaintiffs in the same manner. No facts are pled detailing when such
     2 violations occurred, how many times, to whom, and the dates of such instances.
     3         Finally, Plaintiff cannot show a putative class that is ascertainable. To satisfy the
     4 ascertainability requirement, a plaintiff “must demonstrate that: (i) members of the
     5 proposed class are readily identifiable by objective criteria, and (ii) it is administratively
     6 feasible to determine whether a particular person is a member of the class.” See Kosta
     7 v. Del Monte Foods, Inc., 308 F.R.D. 217, 22 (N.D. Cal. 2015); see also Williams v.
     8 Oberon Media, Inc., 468 F. App’x 768, 770 (9th Cir. 2012) (Courts must have an
     9 objective way to differentiate between putative class members and the broader public
   10 in an administratively feasible manner).
   11          Here, Plaintiff’s proposed class includes “[a]ll current and/or former non-exempt
   12 employees that worked for Defendants in California within four years prior to the filing
   13 of this Complaint,” as well as seven proposed subclasses. FAC ¶ 24-25. This imprecise,
   14 overbroad, and unascertainable definition includes individuals who have no claim
   15 against Everi because they did not work under similar purported conditions as Plaintiff
   16 and they did not experience the same issues Plaintiff supposedly did. Plaintiff fails to
   17 show how any members of the proposed class were actually harmed, how they can be
   18 identified with objective criteria, or that it would be administratively feasible to do so.
   19          For all these reasons, the Court should dismiss and/or strike Plaintiff’s
   20 inappropriate and unsupported class action allegations.
   21          C.     Plaintiff’s Requests For Injunctive Relief Must Be Stricken
   22          Plaintiff seeks injunctive relief in connection with his UCL claim and appears to
   23 seek injunctive relief with respect to his Labor Code claims as well. See FAC ¶¶ 68,
   24 90, 92; Prayer for Relief ¶¶ 24, 35. However, Plaintiff lacks standing to seek injunctive
   25 relief because he is a former, not a current, employee of Everi. See Dukes v. Wal-Mart
   26 Stores, Inc., 603 F.3d 571, 623 (9th Cir. 2010) (“[T]hose putative class members who
   27 were no longer Wal–Mart employees at the time Plaintiffs’ complaint was filed do not
   28 have standing to pursue injunctive or declaratory relief.”), rev’d on other grounds, 564
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            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 27 of 28 Page ID #:198



     1 U.S. 338 (2011); Ellis v. Costco Wholesale Corp., 657 F.3d 970, 986 (9th Cir. 2011)
     2 (named Plaintiff in a putative class action who was “not employed by Costco
     3 throughout this case [did] not have standing to seek injunctive relief”); Gordon v.
     4 Aerotek, Inc., 2017 WL 8217410, at *5-7 (C.D. Cal. Oct. 12, 2017) (granting motion to
     5 dismiss request for injunctive relief asserted under UCL claim by former employee).
     6 This makes sense because, given Plaintiff is no longer an Everi employee, there is no
     7 conduct to enjoin, as the purported issues are not capable of repetition. Accordingly,
     8 Plaintiff’s requests for injunctive relief must be stricken for lack of standing and
     9 because it is not a proper remedy.
   10 V.       CONCLUSION
   11          For the foregoing reasons, Everi respectfully requests that Plaintiff’s FAC be
   12 dismissed or stricken in its entirety. As Plaintiff has already amended the complaint
   13 once and further amendments would be futile for the reasons set forth above, Everi
   14 respectfully requests that dismissal be with prejudice. See Ecological Rts. Found. v.
   15 Pac. Gas & Elec. Co., 713 F.3d 502, 520 (9th Cir. 2013) (“Although a district court
   16 ‘should freely give leave [to amend] when justice so requires,’ the court’s discretion to
   17 deny such leave is ‘particularly broad’ where the plaintiff has previously amended its
   18 complaint.’”) (internal citations omitted).
   19
   20      DATED: January 17, 2024                Respectfully submitted,
   21                                             GLASER WEIL FINK HOWARD
                                                   JORDAN & SHAPIRO LLP
   22
   23                                             By: /s/ Elizabeth A. Sperling
                                                      Elizabeth A. Sperling
   24                                                 Alexander R. Miller
                                                      Joseph D. Hadacek
   25                                                 Attorneys for Defendant
                                                      Everi Games Inc.
   26
   27
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            MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO DISMISS AND/OR
           STRIKE PLAINTIFF’S FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
 2366995
Case 2:24-cv-00257-PA-JPR Document 15-1 Filed 01/17/24 Page 28 of 28 Page ID #:199



     1                     L.R. 11-6.2 CERTIFICATE OF COMPLIANCE
     2         The undersigned, counsel of record for Defendant Everi Games Inc., certifies
     3 that this brief contains 6,889 words, which complies with the word limit of L.R. 11-
     4 6.1.
     5
     6                                            Respectfully submitted,
     7     DATED: January 17, 2024                GLASER WEIL FINK HOWARD
                                                   JORDAN & SHAPIRO LLP
     8
     9                                            By: /s/ Elizabeth A. Sperling
                                                      Elizabeth A. Sperling
   10                                                 Alexander R. Miller
                                                      Joseph D. Hadacek
   11                                                 Attorneys for Defendant
                                                      Everi Games Inc.
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